Case 2:04-cv-02617-SH|\/|-dkv Document 29 Filed 08/08/05 Page 1 of 2 Page|D 54

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PRoDucTs, iNc.,
Plaimifr,
Vs. Case No. 04-2617Ma V

PENNSYLVAN|A MANUFACTURERS’
ASSOCIAT|ON INSURANCE COMPANY,

Defendant. JURY DEMANDED
AMENDED SCHEDUL|NG ORDER

This matter came on to be heard upon the motion of the Defendant for entry of an
Amended Schedu|ing Order based upon the continuance of this case from October 24,
2005 to February 21, 2006, and upon the entire record in the cause from all of which the
Court finds that the December 15, 2004 Schedu|ing Order should be amended as foilows:
COMPLET|NG ALL DISCOVERY: November 15, 2005

(a) DOCU|V|ENT PRODUCT|ON: November 15, 2005

(b) DEPOSIT|ONS, INTERROGATOR|ES AND REQUESTS FOR
ADM|SS|ONS: November 15, 2005

F|L|NG DiSPOS|TlVE MOT|ONS: November 15, 2005
The baiance of the original Scheduiing Order entered December 15, 2004 is

incorporated herein by reference.

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1T ls so oRDERED, ADJUDGED AND DEcREED this 5 day of
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UNITED ST.ATES |j|S:F-RTC:{`_€S'URT JUDGE
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with H.lla 55 addict 324bi FRCrP on as 29

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CV-026]7 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

